       Case 1:14-cv-00760-RMC Document 29 Filed 02/16/16 Page 1 of 1
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                          )
ELECTRONIC FRONTIER FOUNDATION,           )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )                 C.A. No. 14-760-RMC
                                          )
DEPARTMENT OF JUSTICE,                    )
                                          )
            Defendant.                    )
__________________________________________)

               NOTICE OF WITHDRAWAL OF PLAINTIFF’S MOTION FOR
                              RECONSIDERATION

        Having received the Government’s view that Section 402 of the USA FREEDOM

Act applies only prospectively to significant decisions of the FISC, EFF respectfully

withdraws its Motion for Reconsideration. EFF intends to pursue the issue in separate

litigation.



February 16, 2015                                      Respectfully submitted,

                                                       /s/ David L. Sobel
                                                       DAVID L. SOBEL
                                                       D.C. Bar No. 360418
                                                       Electronic Frontier Foundation
                                                       5335 Wisconsin Ave. N.W., Suite
                                                       640
                                                       Washington, DC 20015
                                                       (202) 246-6180

                                                       MARK RUMOLD
                                                       (admitted in California)
                                                       Electronic Frontier Foundation
                                                       815 Eddy Street
                                                       San Francisco, CA 94110
                                                       (415) 436-9333

	      	        	       	     	     	     	     Attorneys for Plaintiff
                                                       ELECTRONIC FRONTIER
                                                       FOUNDATION
